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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,    )
                             )
             Plaintiff,      )
                             )
        -vs-                 )                        No. 20-CR-4-JFH
                             )
EARLY WILLARD WOODMORE, III, )
                             )
             Defendants.     )

            OPPOSED MOTION TO DISMISS AND EXCLUDE

       COMES NOW, the Defendant, Early Willard Woodmore III, by and through his

attorney of record in this matter, Craig M. Hoehns, and moves this Court to dismiss matter

and/or provide other such appropriate relief and in support thereof, Defendants state:

      1.     Defendant was charged by indictment on January 14, 2020. (Doc. 2).

      2.     The Defendant is entitled to a fair and impartial jury. U.S. Const. amend. VI.

      3.     The Defendant is entitled to defense of counsel since accusations were made in

             this matter.

      4.     That since charges were filed, the government seized defendant’s property/legal

             paperwork without search warrant and/or legal cause during the pendency of a

             criminal prosecution.

      5.     Specifically, the government has seized legal paperwork in possession of the

             defendant possessed for purposes of defense of the charges against the

             defendant.
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       6.     That such seizure of documentation was in violation of the U.S. Constitution

              and the Oklahoma Constitution.

       WHEREFORE, Defendants requests that the Court dismiss charges against the

Defendant and/or grant relief as is appropriate.


                                           Respectfully submitted,

                                           s/ Craig M. Hoehns
                                           Craig M. Hoehns
                                           Bar Number: 21700
                                           Attorney for Early Willard Woodmore, III
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                            CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2022, I electronically transmitted the

document to the Clerk of Court using the Electronic Case Filing System for filing. Based

on the records currently on file in this case, the Clerk of Court will transmit a Notice of

Electronic Filing to those registered participants of the ECF System.

                                                   s/ Craig M. Hoehns
